                                           Case 3:25-cv-02847-AMO         Document 33      Filed 04/01/25      Page 1 of 7




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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7       COMMUNITY LEGAL SERVICES IN                     Case No. 25-cv-02847-AMO
                                           EAST PALO ALTO, et al.,
                                   8                    Plaintiffs,                        ORDER GRANTING PLAINTIFFS’
                                   9                                                       MOTION FOR TEMPORARY
                                                 v.                                        RESTRAINING ORDER
                                  10
                                           UNITED STATES DEPARTMENT OF                     Re: Dkt. No. 7
                                  11       HEALTH AND HUMAN SERVICES, et
                                           al.,
                                  12
Northern District of California




                                                        Defendants.
 United States District Court




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                                  14           This matter comes before the Court on a Motion for a Temporary Restraining Order filed

                                  15   by Plaintiff nonprofit organizations that received funding from Defendants to provide legal

                                  16   representation and other legal services to unaccompanied children in immigration courts across the

                                  17   country.1 Plaintiffs challenge the actions of Defendants the United States Department of Health

                                  18   and Human Services (“HHS”), HHS’s Office of Refugee Resettlement (“ORR”), and the United

                                  19   States Department of the Interior (collectively, “Government” or “Defendants”) in the recent

                                  20   termination of funding for counsel representing unaccompanied children in immigration

                                  21   proceedings. Having considered Plaintiffs’ motion, Defendants’ response, and the arguments of

                                  22   the Parties at the April 1, 2025 hearing, the Court hereby GRANTS Plaintiffs’ emergency Motion

                                  23   for a Temporary Restraining Order, effective 8:00 a.m. on April 2, 2025. The Court VACATES

                                  24   the previous briefing schedule set at the conclusion of the hearing on April 1, 2025, and it SETS a

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                                       1
                                  26    Plaintiffs include the following organizations: Community Legal Services in East Palo Alto,
                                       Social Justice Collaborative, Amica Center for Immigrant Rights, Estrella del Paso, Florence
                                  27   Immigrant and Refugee Rights Project, Galveston-Houston Immigrant Representation Project,
                                       Immigrant Defenders Law Center, National Immigrant Justice Center, Northwest Immigrant
                                  28   Rights Project, Rocky Mountain Immigrant Advocacy Network, and Vermont Asylum Assistance
                                       Project (collectively, “Plaintiffs”).
                                        Case 3:25-cv-02847-AMO            Document 33        Filed 04/01/25      Page 2 of 7




                                   1   preliminary injunction briefing schedule at the conclusion of this Order. The Court enters the

                                   2   following findings of fact and conclusions of law supporting the maintenance of status quo ante

                                   3   pending further briefing from the parties.

                                   4   I.     BACKGROUND
                                   5          Plaintiffs previously received funding for their work from ORR disbursed through Acacia

                                   6   Center for Justice. Compl. ¶¶ 64-65; 88. Defendants issued a letter to Acacia Center for Justice

                                   7   on March 21, 2025, terminating the contract line items through which HHS and ORR provided

                                   8   funding for counsel for unaccompanied children in immigration court. Compl. ¶ 11; Biswas Decl.,

                                   9   Ex. 2 (ECF 24-3, the “Cancellation Order”). The letter ordered Plaintiffs to “immediately stop all

                                  10   work” on their ongoing funded representations. Id. Plaintiffs share the mission of ensuring legal

                                  11   representation for the thousands of unaccompanied children in immigration proceedings

                                  12   throughout the country. Compl. ¶ 102. Congress has consistently appropriated funds for this
Northern District of California
 United States District Court




                                  13   purpose, including the most recent appropriation for over $5 billion to ensure “all children . . .

                                  14   have access to counsel in their immigration proceedings.” Compl. ¶¶ 77-87.

                                  15          Plaintiffs contend that the Government’s Cancellation Order violates its obligations under

                                  16   the William Wilberforce Trafficking Victims Protection Reauthorization Act of 2008 (“TVPRA”),

                                  17   which requires that the Government “shall ensure, to the greatest extent practicable,” that all

                                  18   unaccompanied children receive legal counsel to represent them in “legal proceedings” and to

                                  19   “protect them from mistreatment, exploitation, and trafficking.” Pub. L. No. 110-457, § 235(c)(5),

                                  20   122 Stat. 5044, 5079. Plaintiffs argue that the Cancellation Order additionally violates the

                                  21   Government’s obligations under ORR’s own “Foundational Rule,” which requires the

                                  22   Government to “fund legal service providers to provide direct immigration legal representation” to

                                  23   unaccompanied children if there are “available appropriations” and to ensure children receive a

                                  24   legal orientation, consultation with a lawyer, and ongoing access to lawyers. 45 C.F.R.

                                  25   § 410.1309(a) (2024). Plaintiffs allege that Defendants’ Cancellation Order conflicts with these

                                  26   legal requirements and thus violates the Administrative Procedure Act, 5 U.S.C. § 706(2)(A).

                                  27   Compl. ¶¶ 127-46.

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                                        Case 3:25-cv-02847-AMO           Document 33         Filed 04/01/25     Page 3 of 7




                                   1          In response to the Cancellation Order, Plaintiffs state that they are forced to choose

                                   2   between few harsh alternatives, including continuing to provide unfunded legal representation in

                                   3   the face of limited resources; cutting other vital organizational programs; laying off, furloughing,

                                   4   or terminating staff; or seeking to withdraw from their ongoing representation duties. See, e.g.,

                                   5   VAAP Decl. ¶ 21.

                                   6   II.    DISCUSSION
                                   7          The Court has jurisdiction over Defendants and the subject matter of this action. See

                                   8   Administrative Procedure Act, 5 U.S.C. § 702. Contrary to the Government’s assertions, this is

                                   9   not a contract dispute in which Plaintiffs seek money damages such that their suit belongs before

                                  10   the Federal Court of Claims. Pacito v. Trump, No. 2:25-CV-255-JNW, 2025 WL 893530, at *4-7

                                  11   (W.D. Wash. Mar. 24, 2025). A temporary restraining order against Defendants, as provided

                                  12   below, is necessary until the Court can consider Plaintiff States’ forthcoming motion for a
Northern District of California
 United States District Court




                                  13   preliminary injunction.

                                  14          A.      Standing
                                  15          The Cancellation Order “perceptibly impair[s]” the services Plaintiffs are driven to

                                  16   provide. See E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640, 663 (9th Cir. 2021). And

                                  17   further, the Cancellation Order caused the Plaintiff organizations “to divert their already limited

                                  18   resources” to ensure ongoing representation for unaccompanied children despite the halt in

                                  19   government funding. See E. Bay Sanctuary Covenant, 993 F.3d at 663; see also, e.g., MIRC Decl.

                                  20   ¶ 24 (showing diversion of resources from one part of the organization’s services to ensure client

                                  21   representation). Plaintiffs also have standing to challenge the Order because of the new and

                                  22   ongoing operational costs they allege. City and Cnty. of San Francisco v. United States

                                  23   Citizenship and Immigration Servs., 944 F.3d 773, 787-88 (9th Cir. 2019). Plaintiffs have

                                  24   suffered near-immediate financial impacts, and they have thus made a sufficient showing of

                                  25   concrete and imminent economic injury. See, e.g., Estrella del Paso Decl. ¶ 13 (describing staff

                                  26   furloughs in response to Cancellation Order). Additionally, Plaintiffs’ Administrative Procedure

                                  27   Act claims fall within the “zone of interests” protected by the TVPRA because their interests in

                                  28   ensuring representation for children in immigration proceedings “are ‘marginally related to’ and
                                                                                         3
                                        Case 3:25-cv-02847-AMO            Document 33         Filed 04/01/25     Page 4 of 7




                                   1   ‘arguably within’ the scope of the statute.” E. Bay Sanctuary Covenant v. Biden, 993 F.3d 640,

                                   2   668 (citing Match-E-Be-Nash-She-Wish Band of Pottawatomi Indians v. Patchak, 567 U.S. 209,

                                   3   225 (2012)). In sum, Plaintiffs have standing to bring this suit.

                                   4          B.      Entitlement to Temporary Relief

                                   5          Federal Rule of Civil Procedure 65 authorizes a trial court to grant a temporary restraining

                                   6   order “to preserve the status quo and the rights of the parties until a final judgment issues in the

                                   7   cause.” See Ramos v. Wolf, 975 F.3d 872, 887 (9th Cir. 2020) (quoting U.S. Philips Corp. v. KBC

                                   8   Bank N.V., 590 F.3d 1091, 1094 (9th Cir. 2010)). The status quo in this context “refers not simply

                                   9   to any situation before the filing of a lawsuit, but instead to ‘the last uncontested status which

                                  10   preceded the pending controversy[.]’ ” GoTo.com, Inc. v. Walt Disney Co., 202 F.3d 1199, 1210

                                  11   (9th Cir. 2000) (quoting Tanner Motor Livery, Ltd. v. Avis, Inc., 316 F.2d 804, 809 (9th Cir.

                                  12   1963)). “The standard for issuing a temporary restraining order is identical to the standard for
Northern District of California
 United States District Court




                                  13   issuing a preliminary injunction.” Lockheed Missile & Space Co. v. Hughes Aircraft Co., 887 F.

                                  14   Supp. 1320, 1323 (N.D. Cal. 1995).

                                  15          To obtain preliminary injunctive relief, the moving party must show: (1) a likelihood of

                                  16   success on the merits, (2) a likelihood of irreparable harm to the moving party in the absence of

                                  17   preliminary relief, (3) the balance of equities tips in the favor of the moving party, and (4) an

                                  18   injunction is in the public interest. Winter v. Natural Res. Def. Council, Inc., 555 U.S. 7, 20

                                  19   (2008). Where the government is a party, courts merge the analysis of the final two Winters

                                  20   factors, the balance of equities and the public interest. Drakes Bay Oyster Co. v. Jewell, 747 F.3d

                                  21   1073, 1092 (9th Cir. 2014) (citing Nken v. Holder, 556 U.S. 418, 435 (2009)). Courts “explore the

                                  22   relative harms to applicant and respondent, as well as the interests of the public at large.” Barnes

                                  23   v. E-Sys., Inc. Grp. Hosp. Med. & Surgical Ins. Plan, 501 U.S. 1301, 1305 (1991) (internal

                                  24   quotation marks and citation omitted). The Winters factors may be evaluated on a sliding scale,

                                  25   such that preliminary relief may be issued when the moving party demonstrates “that serious

                                  26   questions going to the merits were raised and the balance of hardships tips sharply in the

                                  27   plaintiff’s favor.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1134-35 (9th Cir. 2011)

                                  28   (citation omitted).
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                                        Case 3:25-cv-02847-AMO            Document 33         Filed 04/01/25     Page 5 of 7




                                   1          Here, the Court finds that Plaintiffs raise serious questions going to the merits. In

                                   2   particular, the TVPRA requires that the government “shall ensure, to the greatest extent

                                   3   practicable,” that all unaccompanied children receive legal “counsel to represent them in legal

                                   4   proceedings” and to “protect them from mistreatment, exploitation, and trafficking.” 8 U.S.C.

                                   5   § 1232(c)(5). The Government argues that HHS’s funding decisions under the TVPRA and the

                                   6   Foundational Rule remain discretionary and do not mandate funding of direct legal representation

                                   7   such as that provided by Plaintiffs. But this raises a “serious question” going to the merits –

                                   8   whether the TVPRA requires the Government to ensure the provision of counsel for unrepresented

                                   9   children in immigration proceedings prior to the cancellation of funding for direct legal

                                  10   representation by organizations such as Plaintiffs. This serious question weighs in favor of

                                  11   reinstating the status quo ante while the record and the parties’ arguments are developed further.

                                  12          Plaintiffs have also shown that they are likely to suffer irreparable harm in the absence of
Northern District of California
 United States District Court




                                  13   preliminary relief. Defendants’ termination of funding has impacted Plaintiffs, forcing them to

                                  14   issue layoff notices and threatening to require them to dismiss their highly-specialized and

                                  15   seasoned attorneys. See ImmDef Decl. ¶¶ 20-23. Relevant to the issue of standing raised above,

                                  16   Defendants’ termination of funding for direct legal representation directly interferes with

                                  17   Plaintiffs’ missions, impeding their ability to provide the direct legal representation of

                                  18   unaccompanied children in immigration proceedings that is fundamental to Plaintiffs’ core

                                  19   activities. RMIAN Decl. ¶ 22; VAAP Decl. ¶¶ 21-22; NWIRP ¶¶ 13-15. The irreparable harm

                                  20   resulting from Defendants’ actions weighs in favor of temporary injunctive relief.

                                  21          The Government argues that it would suffer harm in the form of being compelled to spend

                                  22   down congressionally appropriated funds for the unaccompanied children in immigration

                                  23   proceedings during the pendency of the preliminary injunctive relief. Not so. Terminating

                                  24   funding for direct legal representation for unaccompanied children, without any plan to ensure

                                  25   continuity in representation, potentially violates Congress’s express directive in the TVRPA and

                                  26   ORR’s own commitments in the Foundational Rule. Moreover, courts regularly find that “[t]here

                                  27   is generally no public interest in the perpetuation of unlawful agency action.” League of Women

                                  28   Voters of United States v. Newby, 838 F.3d 1, 12 (D.C. Cir. 2016) (citations omitted). “To the
                                                                                          5
                                        Case 3:25-cv-02847-AMO            Document 33         Filed 04/01/25     Page 6 of 7




                                   1   contrary, there is a substantial public interest ‘in having governmental agencies abide by the

                                   2   federal laws that govern their existence and operations.’ ” Id. (quoting Washington v. Reno, 35

                                   3   F.3d 1093, 1103 (6th Cir. 1994)). The Government fails to convince that it would suffer harm at

                                   4   this stage.

                                   5           On the other hand, the maintenance of funding for direct legal representation services

                                   6   furthers the critical public interests of ensuring children have access to legal representation and

                                   7   protection from human trafficking. Indeed, ORR itself recognizes “that most unaccompanied

                                   8   children need legal services to resolve their immigration status and that representation appears to

                                   9   have a significant impact on both the court appearance rate and the outcome of cases for

                                  10   unaccompanied children.” Foundational Rule, 89 Fed. Reg. 34384, 34529; see also id. at 34526

                                  11   (stating ORR’s goal of “100 percent legal representation of unaccompanied children.”). The Court

                                  12   additionally finds that the continued funding of legal representation for unaccompanied children
Northern District of California
 United States District Court




                                  13   promotes efficiency and fairness within the immigration system. See generally Br. for Amicus

                                  14   Curiae Former Immigration Judges & Former Members of the Board of Immigration Appeals

                                  15   (ECF 28). A temporary restraining order enjoining the Cancellation Order serves the public

                                  16   interest.

                                  17           In sum, the balance of equities tips sharply toward the Plaintiffs and the public interest

                                  18   strongly weighs in favor of entering temporary relief.

                                  19   //

                                  20   //

                                  21   //

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                                        Case 3:25-cv-02847-AMO               Document 33         Filed 04/01/25     Page 7 of 7




                                   1   III.       TEMPORARY RESTRAINING ORDER

                                   2              For the foregoing reasons, the Court hereby GRANTS Plaintiffs’ motion for Temporary

                                   3   Restraining Order. The Court hereby ORDERS that:

                                   4                      Defendants are ENJOINED from withdrawing the services or funds
                                                          provided by the Office of Refugee Resettlement (“ORR”) as of
                                   5                      March 20, 2025, under the Trafficking Victims Protection
                                                          Reauthorization Act of 2008 (“TVPRA”), 8 U.S.C. § 1232(c)(5),
                                   6                      and ORR’s Foundational Rule, 45 C.F.R. § 410.1309(a)(4),
                                                          particularly ORR’s provision of funds for direct legal representation
                                   7                      services to unaccompanied children. This injunction precludes
                                                          cutting off access to congressionally appropriated funding for its
                                   8                      duration.
                                   9              The Court deems no security bond is required under Rule 65(c). This injunction shall

                                  10   remain in effect until Wednesday, April 16, 2025, at 7:59 a.m. PST.

                                  11              The Court SETS the following briefing schedule for Plaintiffs’ Motion for Preliminary

                                  12   Injunction:
Northern District of California
 United States District Court




                                  13          •   Plaintiffs’ opening brief shall be filed by no later than 4:00 p.m. on Friday, April 4, 2025.

                                  14          •   Defendants’ opposition brief shall be filed by no later than 4:00 p.m. on Friday, April 11,

                                  15              2025.

                                  16          •   Plaintiffs’ reply brief shall be filed by no later than noon on Monday, April 14, 2025.

                                  17              The Court will set a remote hearing on Plaintiffs’ Motion for Preliminary Injunction if it

                                  18   deems one necessary.

                                  19

                                  20              IT IS SO ORDERED.

                                  21   Dated: April 1, 2025

                                  22

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                                                                                                        ARACELI MARTÍNEZ-OLGUÍN
                                  24                                                                    United States District Judge
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